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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

M
ASSOCIATED INDUSTRIES INS. CO.,                )
                                               )
      Plaintiff,                               )   Civil Action
                                               )
v.                                             )       1:21-cv-04939-SDG
                                                   No. _________________
                                               )
HISCOX INS. CO. INC., ATLANTA                  )
PRODUCTIONS INC., D/B/A MUSIC                  )
MATTERS AND GEORGE M.                          )
LOVELL III AUDIOVISUAL                         )
SERVICES                                       )

      Defendants.

                   COMPLAINT FOR DECLARATORY JUDGMENT

      COMES NOW ASSOCIATED INDUSTRIES INSURANCE COMPANY

(“Associated”) and files this Complaint for Declaratory Judgment pursuant to Rule

57 of the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201 and 2202, and

shows the Court as follows:

                              Parties and Jurisdiction

                                          1.

      Associated is a corporation existing under the laws of the State of Florida with

its principal place of business in the State of New York. It is a citizen of the States

of Florida and New York.




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                                           2.

      Defendant Hiscox Ins. Co., Inc. (“Hiscox”) is a corporation organized under

the laws of the State of Illinois with its corporate headquarters located in the State

of Georgia. Hiscox is licensed to do business in the State of Georgia. It is a citizen

of the States of Illinois and Georgia.

                                           3.

      Defendant Atlanta Productions, Inc, d/b/a/Music Matters (“Atlanta

Productions”) is a corporation organized under the laws of the state of Georgia with

its principal place of business in Illinois. Its registered agent is Corporation Service

Company at 2 Sun Court, Suite 400, Peachtree Corners, Gwinnett County, Georgia

30092. It is a citizen of the States of Georgia and Illinois.

                                           4.

      Defendant George M. Lovell III, d/b/a George M. Lovell III Audio Visual

Services (“Lovell”), is a resident of the state of Georgia and may be properly served

at 441 Lower Boundary Street, Macon, GA 31206. He is a citizen of the State of

Georgia.

                                           5.

      Lovell operates a business located in Macon, Georgia that rents audio visual,

communication and sound equipment.


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                                             6.

       Lovell is the named insured under a commercial general liability policy issued

by Associated, Policy No. AES1188539-01, effective April 1, 2020 to April 1, 2021

(the “Policy”). A certified copy of the Policy is attached as Exhibit A.

                                             7.

       This action is within the Court’s original jurisdiction under 28 U.S.C. § 1332

in that it is a civil action between citizens of different states (Plaintiff is a resident of

the State of New York and the State of Florida and Defendants are residents of the

States of Georgia and Illinois. The amount in controversy is in excess of $75,000,

exclusive of interest and costs, as claimed in the state court action below.

                                             8.

       Venue is proper in this forum and is predicated on 28 U.S.C. § 1391(b)(2) and

(c)(2), because, as set out herein, two of the defendants reside in this district, Fulton

County, and this is the judicial district in which the alleged property damage

occurred as well as the County where the state court action is pending.



                   Facts Pertaining to the Underlying Litigation

                                             9.

       Defendants Hiscox and Atlanta Productions have asserted claims for property

damage against Lovell in a lawsuit styled as Hiscox Ins. Co., Inc. and Atlanta


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Productions, Inc. d/b/a Music Matters v. George M. Lovell III Audio Visual Services,

pending in the Superior Court of Fulton County, Georgia as Civil Action No.

2021CV353150 (the “Underlying Action”).          Associated is not a party to the

Underlying Action.

                                         10.

        In the Underlying Action, Atlanta Productions alleges that it was hired to

provide audio and video production elements for an event at the Home Depot

Backyard at Mercedes Benz Stadium. The event was to take place October 29-30,

2020.

                                         11.

        Atlanta Productions alleges that it retained Lovell to “design, construct and

install a structural support mechanism to support audiovisual equipment to be used

in the event.” [Complaint, Underlying Action Complaint at ¶ 7] The Structure

would be used to suspend Atlanta Productions’ equipment, including a jumbotron.

                                         12.

        Atlanta Productions alleges that Lovell provided a photograph of a similar

structure to the one that it was installing. [Complaint, Underlying Action at ¶ 8]




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                                         13.

      Atlanta Productions further alleges that Lovell “was exclusively in charge of

the design, construction, and installation of the Structure.” [Complaint, Underlying

Action at ¶ 9]

                                         14.

      Atlanta Productions alleges that Lovell built and constructed the Structure

starting on October 28, 2020. [Complaint, Underlying Action at ¶ 16]

                                         15.

      Atlanta Productions alleges that Lovell incorrectly attached the ballasts for the

Structure and that Lovell’s design for the ballasts and their installation rendered the

ballasts useless. [Complaint, Underlying Action at ¶¶ 17, 20, 21, 22 and 23]

                                         16.

      Atlanta Productions contends that after its audiovisual equipment was

installed onto the Structure, Lovell moved it to ground level to protect it from an

incoming storm. [Complaint, Underlying Action at ¶ 25]

                                         17.

      The next day, October 29, 2020, Atlanta Productions alleges that its

audiovisual equipment was significantly damaged when Lovell raised the Structure

and the Structure fell as a result of the ballast issue. [Complaint, Underlying Action

at ¶ 28]


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                                            18.

      Atlanta Production contends that Lovell was negligent in the design,

construction and installation of the Structure and that, as a result, it has incurred

property damages of $680,506.98. [Complaint, Underlying Action at ¶ 35]

                                            19.

      Upon information and belief, Hiscox is the insurer for Atlanta Production. It

is a Plaintiff in the Underlying Action.

                          The Insurance Coverage Issue

                                      20.

      The Policy provides, in its Insuring Agreement, as follows:

      We will pay those sums that the insured becomes legally obligated to
      pay as damages because of "bodily injury" or "property damage" to
      which this insurance applies. We will have the right and duty to defend
      the insured against any "suit" seeking those damages. However, we will
      have no duty to defend the insured against any "suit" seeking damages
      for "bodily injury" or "property damage" to which this insurance does
      not apply. We may, at our discretion, investigate any "occurrence" and
      settle any claim or "suit" that may result.

Policy, Section I – Coverages, Coverage A Bodily Injury and Property Damage

Liability, 1. Insuring Agreement, at p. 1 of 15 of CGL form. See Exhibit A, at

000024.




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                                           21.

      The Standard Additional Exclusions endorsement adds that where there is no

coverage under the Policy, there is no duty to defend. Form NX GL 167 09 18, ¶ 3,

at p. 2 of 7. See Exhibit A, at 000111.

                                           22.

      “Property damage” is defined as:

      a.     Physical injury to tangible property, including all resulting loss
      of use of that property….; or b. Loss of use of tangible property that is
      not physically injured….”

Policy, Section I – Coverages, Coverage A Bodily Injury and Property Damage

Liability, V. Definitions, 17., at page 14 of 15 of CGL form. See Exhibit A, at

000037.

                                           23.

      The Policy only applies to Property Damage that is sustained as a result of an

“occurrence.”    Policy, Section I – Coverages, Coverage A Bodily Injury and

Property Damage Liability, 1. Insuring Agreement, b (1), at page 1 of 15 of CGL

form. See Exhibit A, at 0000024.

                                           24.

       The Policy defines the term “occurrence” to mean an “accident.” Policy,

Section I – Coverages, Coverage A Bodily Injury and Property Damage Liability,

V. Definitions, 13., at page 14 of 15 of CGL form. See Exhibit A at 000037.


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                                         25.

      The Policy contains an exclusion by endorsement called the “Total

Professional Services” exclusion. This endorsement provides that it modifies the

CGL policy form to add an additional set of exclusions. It provides that otherwise

covered losses are not covered by the Policy if they arise out of “the rendering of or

the failure to render any professional services by you or anyone who is performing

work on your behalf.” The term “professional services” includes “construction

engineering, design, or assessment” as well as recommending designs or

specifications, or performance of supervisory or inspection activities.           The

endorsement provides that Associated owes no duty to defend or other coverage

obligations “arising from activities excluded by this endorsement”. Policy, Form

NXGL 198 01 13. See Exhibit A, at 000120.

                                         26.

      The Policy includes Exclusions within the CGL form, including “J. Property

Damage,” which bars coverage for damage to “that particular part of any property

that must be restored, repaired or replaced because ‘your work’ was incorrectly

performed on it.” Policy, Section I, Coverages, Coverage A. Bodily Injury and

Property Damage Liability, 2. Exclusions, J. Damage to Property (6), page 4 of 15,

CGL form. See Exhibit A, at 000027.


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                                       27.

      The Policy defines “Your Work” as follows:

      1)    Work or operations performed by you or on your behalf; and

      2)    Materials, parts or equipment furnished in connection with such
            work or operations.

      The term “Your Work” also includes:

      1)    Warranties or representations made at any time with respect to
            the fitness, quality, durability, performance or use of “your
            work,” and

      2)    The providing of or failure to provide warnings or instructions.

Policy, Section I – Coverages, Coverage A Bodily Injury and Property Damage

Liability, V. Definitions, 22, page 15 of 15, CGL form. See Exhibit A, at 000038.

                                       28.

      The Policy is also endorsed with an Exclusion for “Designated Construction

or Contractor Operations.” The exclusion provides that the coverage under the CGL

“does not apply to property damage” arising out of Rigging operations (not ship or

boat).” The term “rigging” is not defined in the Policy. Policy, Form AES GL 222B

0517. See Exhibit A, at 000022.




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                                        29.

      Lovell is the named insured under the Policy. The equipment loss alleged in

the Underlying Action is “property damage” as defined in the Policy. The loss

incident constitutes an “occurrence” under the Policy.

                                        30.

      Associated is providing a defense in the Underlying Action to Lovell under a

Reservation of Rights.

                                        31.

      Lovell has made demand on Associated for indemnification of the damages

alleged in the Underlying Action.

                                        32.

      The coverage obligations of an insurer are determined by comparing the

allegations of the Complaint with the terms of the Policy

                                        33.

      The claims of Lovell, Hiscox and Atlanta Productions for coverage under the

Policy are excluded under the said Total Professional Services Endorsement.

                                        34.

      The claims of Lovell, Hiscox and Atlanta Productions for coverage under the

Policy are excluded under exclusion J. of the Policy, since the equipment at issue




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was damaged because Lovell’s work is alleged to have been incorrectly performed

on it.

                                         35.

         The claims of Lovell, Hiscox and Atlanta Productions for coverage under the

Policy are excluded under the Exclusion for “Designated Construction or Contractor

Operations,” since all of the conduct alleged in the Underlying Action to have been

negligent or wrongful constituted rigging operations.

                                         36.

         There is no other action that is currently pending in which coverage issues

under the Policy have been raised.

                                         37.

         A real and actual controversy exists in that Associated believes it owes no

coverage for the Underlying Action and because Associated is providing a defense

for Lovell in the Underlying Action and could be required to indemnify Lovell for

the amount of any judgment rendered against Lovell in that action. Associated is

faced with an immediate controversy and, therefore, states a claim under the

Declaratory Judgment Act (28 U.S.C. § 2201 et seq.) and Article III of the U.S.

Constitution. See Malowney v. FDIC, 193 F. 3d. 1342 (11th Cir. 1999).




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                                      Prayer

      Wherefore, Associated respectfully requests that the Court grant it the

following relief:

      (a)    Issue an order declaring that Associated owes no indemnity coverage

             to Lovell, Hiscox or Atlanta Productions because of their alleged

             property damage loss;

      (b)    Issue an order declaring that Associated owes no obligation to provide

             Lovell with a defense in the Underlying Action; and

      (c)    Such other and further relief as this Court deems proper.



                                       /s/ William Allred________________
                                       William Allred, Ga. Bar No. 000320
                                       Elizabeth G. Howard, Ga. Bar No. 100118
                                       Counsel for Plaintiff

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